        Case 3:21-cv-01637-MO            Document 50-1          Filed 08/26/22      Page 1 of 20




                                       D e b r a A. P i n a l s, M. D.
          Board Certified in Psychiatry, Forensic Psychiatry, and Certified in Addiction Medicine


                                      Neutral Expert First Report
                          Regarding the Consolidated Mink and Bowman Cases



Date of Report: January 30, 2022
Neutral Expert: Debra A. Pinals, M.D.

Background and Context of this Report

On 12/21/21, the Honorable Michael W. Mosman, U.S. District Judge for the United States District Court
for the District of Oregon, Portland Division, entered an order appointing me, Dr. Debra Pinals, as a
neutral expert in granting a Stipulated Motion from defendants at the Oregon Health Authority (OHA)
and the Oregon State Hospital (OSH) and Plaintiffs Jarrod Bowman, Joshawn Douglas-Simpson, Disability
Rights Oregon, Metropolitan Public Defender Services, Inc., and A.J. Madison. The Court’s order
consolidates two cases, Bowman et al v. Matteucci et al (Case Number: 3:21-cv-01637-MO) and Oregon
Advocacy Center et al v. Mink et al (Case Number: 3:02-cv-00339-MO) and identifies Mink as the lead
case. Through this consolidation, the Bowman case was reassigned from the Honorable Marco A.
Hernandez to Judge Mosman.

Judge Mosman’s order stipulates further that OHA enter into a contract with the neutral expert and
provide any needed information to her. Further, the Court ordered that the neutral expert should
“make recommendations to address capacity issues at the Oregon State Hospital.” The order delineates
that the first report from the neutral expert, due 1/31/22, shall include “suggested admissions protocol
that addresses the admission of patients found unable to aid and assist in their own defense under ORS
161.370 (.370 patients) as well as patients found to be Guilty Except for Insanity (GEI patients).” The
Court further ordered a second report by the neutral expert, due by 4/29/22 that should include “a
short report and recommendations for a proposed long-term compliance plan for OSH.”

This report represents the first report of the appointed Neutral Expert in this matter.

Background and Summary of the Two Consolidated Cases

Oregon Advocacy Center (now known as Disability Rights Oregon) filed a civil rights lawsuit against the
state of Oregon alleging that the state was failing to timely admit individuals found incompetent to
stand trial (unable to aid and assist) who were ordered to Oregon State Hospital for competence to
stand trial restoration. The ruling out of the Ninth Circuit (OAC v. Mink) found on behalf of plaintiffs that
the State was out of compliance and must admit these individuals within seven (7) days .In June 2019
the court compelled the state to get in compliance with Mink within 90 days, and although the state met
its burden at the time, compliance with the ruling became challenging once again with the pandemic
creating other barriers to compliance. The state filed a motion requesting greater latitude in admitting
individuals in the aid and assist process to mitigate spread of COVID-19. That motion was granted, and
Disability Rights Oregon appealed to the Ninth Circuit Court of Appeals. The Ninth Circuit issued an order
vacating the modification but also sought review by the District Court Judge to review his admissions



                                  COOPER DECLARATION EX. A
        Case 3:21-cv-01637-MO            Document 50-1          Filed 08/26/22       Page 2 of 20
                                                         Oregon Neutral Expert Report Regarding Mink/Bowman
                                                                                                      1/30/22


order. In December 2021, the parties entered an interim settlement agreement that involved the
appointment of the neutral expert to provide recommendations as noted above.

In November 2021, plaintiffs Jarod Bowman and Joshawn Douglas-Simpson brought action against the
Oregon State Hospital (OSH) and Oregon Health Authority (OHA) for failure to timely admit them as
individuals adjudicated Guilty Except for Insanity (GEI) by the Multnomah County Circuit Court, after the
Honorable Nan Waller had ordered them to OSH for treatment, without unreasonable delay. The
plaintiffs remained, however at the Multnomah County Detention Center for months (Plaintiff Bowman
for nearly eight months, and Plaintiff Douglas-Simpson for nearly six months) after the commitment
order was issued. Plaintiffs alleged a violation of their substantive due process rights, and filed a motion
for a Temporary Restraining Order asking for plaintiffs to be transported to OSH within seven days of the
order. The defendants argued that a lack of space at OSH, in part related to the need to timely admit
individuals in the aid and assist process, contributed to the delays in admitting the patients. The court
granted the plaintiffs’ motion for a Temporary Restraining Order, noting that “The Mink injunction does
not address the relative priority of aid-and-assist patients and GEI patients…” noting that “any
prioritization stems from Defendant’s failure to provide the funds, staff, and facilities necessary to
satisfy the constitutional rights of both groups. When satisfying constitutional guarantees, Defendants
cannot rob Peter to pay Paul.” In that opinion, The Honorable Marco A. Hernandez, United States
District Court Judge did agree with the defendants that a consolidation of the Mink and Bowman cases
may make sense, thought the response to the motion would not be affected by that consolidation. As
noted above, subsequent to that decision about the Temporary Restraining Order and the two specific
plaintiffs and at the time of the appointment of the neutral expert, the parties entered an interim
agreement that no individuals found GEI would wait longer than four months for admission to OSH.

Qualifications to Perform this Consultation

In rendering the opinions in this report, I relied upon my training and experience after almost twenty-
five years as a clinical and academic and forensic psychiatrist, and over twenty years functioning in state
and local level administrative leadership, management, clinical treatment, forensic evaluation, and
consultative roles across several U.S. jurisdictions. My experience includes evaluating individuals in civil
and criminal processes including competence to stand trial (Aid and Assist) and criminal responsibility
(GEI), consulting to community and hospital behavioral health systems regarding care and treatment of
complex patients and writing, advising on, and revising policy pertaining to individuals in forensic
processes, among others.

Sources

In order to help inform the recommendations contained in this report, I reviewed the following
information:

    1. Mink 0339 COURT Order Consolidating Cases and Appointing Neutral Expert #240, signed
       12/21/21;
    2. Bowman 1637 COURT Order Consolidating Cases and Appointing Neutral Expert #21, signed
       12/21/21;
    3. Bowman 1637 COURT Notice of Judicial Reassignment from Judge Hernandez to Judge Mosman
       #20;
    4. January 3, 2022, Report to Neutral Expert, received 1/6/22

                                                     2

                                  COOPER DECLARATION EX. A
      Case 3:21-cv-01637-MO           Document 50-1         Filed 08/26/22       Page 3 of 20
                                                     Oregon Neutral Expert Report Regarding Mink/Bowman
                                                                                                  1/30/22


5.    Mink and Bowman Interim Agreement, Filed 12/17/21
6.    Oregon Health Authority Table of Organization;
7.    Behavioral Health Services Table of Organization;
8.    Commitment statues and rules as well as copies of forthcoming legislative changes as provided
      by Kailana Piimauna, Senior Assistant Attorney General, Health and Human Services, General
      Counsel Division, Oregon Department of Justice
9.    OSH key data, trends, and additional data summaries provided by OSH and OHA in response to
      several requests
10.   MHS 04 Aid and Assist [DIRECT] (GT#0705-19) FINAL 05.24.19”
11.   Final 2021 CCO contract template 11302020”, with a focus on Exhibit M pertaining to OSH.
12.   Budget Note Data 10-1-21 - Full Review
13.   County MHS 04 21-23 Biennium Funding
14.   Directive to continue addressing the statewide Aid and Assist crisis
15.   Pat Allen OSH Directive 6/20/19
16.   2019-0814 Rivers Run all staff re criteria changes
17.   C-1 Aid and Assist Response- Rivers Run one-pager-updated
18.   21.12.29 OSH Overview changes and capacity PowerPoint
19.   OHA OSH Staffing Request Dec 2021
20.   Request for Expedited Admission to Oregon State Hospital-Forensic, 2/5/21
21.   Request for Expedited Admission to Oregon State Hospital- Civil Commitments, 2/5/21
22.   Request for Expedited Admission into Oregon State Hospital-Patients on the OSH Admission List
      Under Forensic Commitments, labeled 11/8/21
23.   Oregon Advocacy Center et al. v. Mink et al., Case No. 3:02-cv-00339-MO, Progress Report,
      November 17, 2021
24.   Oregon Advocacy Center et al. v. Mink et al., Case No. 3:02-cv-00339-MO, Progress Report, May
      12, 2021
25.   Net Bed Capacity Report 20220105
26.   Documents for discharge planning including:

         a.   A&A and Civil Process Map One and Two
         b.   Protocol for Aid and Assist Discharge Policy
         c.   Ready to Place Checklist
         d.   Ready to Place Notification
         e.   LOCUS Guidance to Court
         f.   Ready to Place Withdrawal Notification
         g.   HLOC Required
         h.   Dual Jurisdiction Ready to Place
         i.   HLOC FES Eval Submitted
         j.   Example Clinical Hospital Level of Care Assessment
         k.   Hospital Level of Care Process Map
         l.   Hospital Level of Care Standard Work
         m.   LOCUS Guidance Document to Court
         n.   OSH FAQs Regarding Notice
         o.   Policy 6.013 Discharge and Conditional Release Planning (overarching policy)
         p.   Protocol for Civil Discharge Policy
         q.   Policy 6.043 Risk Review for Civil Patients

                                                 3

                               COOPER DECLARATION EX. A
         Case 3:21-cv-01637-MO          Document 50-1         Filed 08/26/22       Page 4 of 20
                                                       Oregon Neutral Expert Report Regarding Mink/Bowman
                                                                                                    1/30/22


              r. RTT Flow Chart
              s. A&A and Civil Process Map One
              t. A&A and Civil Process Map Two
              u. Continuing Care Discharge Plan (standard discharge plan for all jurisdictions)
              v. ACT Referral Process Map (across jurisdictions)
              w. Policy 6.013 Discharge and Conditional Release Planning (PSRB/GEI)
              x. GEI Admission to Conditional Release
              y. Policy 6.029 Forensic Risk Review and Privileges
   27.   OHA PSRB EOJ CHOICE process 7/23/18
   28.   Draft charter for the MOOVRS (Multi-Occupancy OSH Vacancy Resource & System Improvement
         Team) initiative
   29.   PowerPoint overview of the Person Directed Transition Team
   30.   Draft Forensic Evaluation Service Manual (edited)
   31.   3 evaluation comparison worksheet
   32.   OSH Forensic evaluation checklist
   33.   370 Initial Report Template -updated 01/14/2019
   34.   370 Initial Report Template Annotated -updated 01/14/2019
   35.   370 Progress Report Template-updated 01/14/2019
   36.   370 Progress Report Template Annotated- updated 01/14/2019
   37.   FES Policy Opinions Regarding Hospital Level of Care-Updated
   38.   Hospital Level of Care Template provided by Ericia Leeper
   39.   FES Attorney Email Templates
   40.   Early Referral Process as of 04/01/2021
   41.   2020 IMPACTS RFGP
   42.   IMPACTS Grant Reports to the Legislative Assembly for 2021 and 2022
   43.   PowerPoint Presentation from the Medical and Allied Health Professional (MAHP) Staff at OSH
   44.   PowerPoint Presentation regarding Forensic Evaluation Services
   45.   PowerPoints from legislative session regarding Behavioral Health Package of Resources Update,
         Update on Ballot Measure 110 Implementation, and Crisis Care Update, along with observing
         legislative testimony by Director Allen from 11/17/21
   46.   Program Design and Evaluation Services (PDES) Aid & Assist Progress Update—January 2022
   47.   Participation in the opening of the Oregon Behavioral Health Summit on 1/6/22 and review of
         Preliminary Reform Ideas for Aid & Assist System from OJD Oregon Behavioral Health Summit/
         GAINS Community of Practice on Competence to Stand Trial/Competence Restoration for
         presentation to the neutral expert, dated 1/26/22
   48.   Preliminary Highlights of Ideas Relating Most Directly to OSH from OJD Summit
   49.   Data regarding level of care placement recommendations compiled by Dr. Chris Hamilton of OJD
   50.   Instructions that the Aid & Assist Coordinators work from specific to “most appropriate aid &
         assist placement” per Dr. Hamilton of OJD

In addition, to inform my opinions and this work as a whole, I spoke with and/or exchanged emails with
numerous people, including but not limited to the following individuals:

   1. Three individuals committed to OSH under a GEI legal status
   2. Three individuals committed to OSH under an Aid & Assist legal status
   3. From OHA and OSH:
          a. Steve Allen, Director of Behavioral Health, OHA

                                                   4

                                 COOPER DECLARATION EX. A
   Case 3:21-cv-01637-MO           Document 50-1         Filed 08/26/22       Page 5 of 20
                                                  Oregon Neutral Expert Report Regarding Mink/Bowman
                                                                                               1/30/22


       b. Dawn Jagger, Chief of Staff, OHA
       c. Dolores Matteucci, OSH Superintendent-CEO
       d. Carla Scott, DOJ Special Litigation Unit Counsel
       e. Isela M. Ramos Gonzalez, Senior Policy Advisor, Government Relations, OHA
       f. Shawna McDermott, Behavioral Health Operations Director, OHA
       g. Kailana Piimauna, Senior Attorney General, Health and Human Services, General
          Counsel Division, Oregon DOJ
      h. Derek Wehr, MSW, Deputy Superintendent OSH
      i. Brandy Eurto, Director and Manager of Admissions, OSH
      j. Cody Gabel, LPC, CADC 3, OPMA, Court and Corrections Liaison, Aid and Assist and Jail
          Diversion, OHA
      k. Bill Osborne, BH Intensive Services Manager, OHA
      l. Ryan Stafford, Forensic Utilization Coordinator, OHA
      m. Isela M. Ramos Gonzalez, Senior Policy Advisor, Government Relations, OHA
      n. Dr. Sara Walker, Interim Chief Medical Officer, OSH
      o. Scott Hillier, Chief Data Analyst, OSH
      p. Mandy Davies. Interim Director, Forensic Evaluation Service, OSH
      q. Micky Logan, Legal Affairs Director at OSH
      r. Della Huffman, Director of Social Work, OSH
      s. Sheila Potter, Deputy Chief Counsel, Special Litigation Unit, Oregon DOJ
      t. Tristan Fernandez, Senior Legislative Policy Analyst, OHA
      u. Members of the Medical and Allied Health Professional Staff (MAHP) at OSH
      v. Margaret J.F. Braun, Ph.D., Research Scientist, and colleagues working on the Program
          Design and Evaluation Services (PDES) review Aid & Assist individual characteristics, OHA
4. From Disability Rights Oregon:
      a. Emily Cooper, Legal Director, DRO
      b. KC Lewis, Managing Attorney, DRO
      c. Timothy Roessel, Advocate, DRO
5. From Oregon Criminal Justice Commission (CJC)
      a. Katie Doldom, IMPACTS grant manager, CJC
      b. Andrew Powell, Research Analyst, CJC
6. Members of the Oregon Judiciary and representatives of the Office of the State Court
   Administrator including:
      a. State Court Administrator Nancy Cozine
      b. Judge Jonathan Hill, Tillamook
      c. Judge Matthew Donohue, Benton
      d. Judge Nan Waller, Multnomah
      e. Judge Laura Cromwell, Jackson
      f. Judge Cindee Matyas, Clatsop
      g. Judge Rachel Kittson-MaQatish, Linn
      h. Dr. Debra Maryanov, Senior Assistant General Counsel, Office of the State Court
          Administrator
      i. Dr. Christopher Hamilton, Behavioral Health Business Analyst, Office of the State Court
          Administrator
      j. Connor Wall, Data Analyst, OJD

                                              5

                            COOPER DECLARATION EX. A
       Case 3:21-cv-01637-MO              Document 50-1        Filed 08/26/22       Page 6 of 20
                                                        Oregon Neutral Expert Report Regarding Mink/Bowman
                                                                                                     1/30/22


Glossary of Acronyms and Terms Used in this Report

A&A: Aid and Assist
CCOs: Coordinated Care Organizations
CCBHCs: Certified Community Behavioral Health Clinics
CMHPs: Community Mental Health Programs
DOJ: Department of Justice Oregon
DRO: Disability Rights Oregon
GEI: Guilty Except for Insanity
HLOC: Hospital Level of Care
IMPACTS: Improving People’s Access to Community-Based Treatment, Supports, and Services
MOOVRS: Multi-Occupancy OSH Vacancy Resource & System Improvement Team
OHA: Oregon Health Authority
OSH: Oregon State Hospital
PSRB: Psychiatric Security Review Board
SHRP: State Hospital Review Panel
SRTF: Secure Residential Treatment Facility

Background Information

Data Summaries

The following data charts and figures provide information as reference points throughout this report.
Table 1 directly delineates data regarding compliance with the Mink/Bowman orders and settlement
agreements, respectively. The other data presented in this report supports factors that are related to
compliance as explained throughout the body of this report.

Table 1. Individuals awaiting admission

 1. Regarding individuals on OSH admission list with signed and received A&A court order
                                   As of 1/5/22                       As of 1/28/22
 Total Number of individuals       46                                 93*
 Average days waiting              15.8 days                          22.5 days
 Range of Days on waitlist         2-23 days                          3-44 days
 Average days waited for           15.4 days (range 11-20 days)       15.4 days (range 11-20 days)
 admissions in December 2021
 2. Regarding individuals found GEI and ordered to OSH
                                   As of 1/5/22                       As of 1/28/22
 Total number of individuals       15                                 4
 Average days waiting              45.6 days                          23 days
 Range of Days on waitlist         1-110 days                         17-28 days
 Average days waited for           150.2 days (range 41-203 days)     150.2 days (range 41-203)
 admissions in December 2021
*The marked increase in numbers awaiting admission is most likely a residual of the pauses in
admissions due to COVID-19



                                                    6

                                 COOPER DECLARATION EX. A
         Case 3:21-cv-01637-MO           Document 50-1           Filed 08/26/22       Page 7 of 20
                                                          Oregon Neutral Expert Report Regarding Mink/Bowman
                                                                                                       1/30/22


Table 2: OSH Bed Capacities as of 1/5/22

 Site                                Licensed Capacity        Active Capacity
 Salem Main Campus HLOC              503                      475
 Salem Main Campus SRTF              90                       87
 Salem Main Campus Total             593                      562
 Junction City HLOC                  75                       72
 Junction City SRTF                  75                       72
 Junction City Total                 150                      144
 OSH Total                           743                      706

Table 3. Individuals determined to be clinically appropriate for discharge as of 1/11/22

 Legal Status      Total on “ready to               Numbers and level of care needed
                   discharge list”
 Aid & Assist                   85                  8: SRTF
                                                    40: RTF/RTH
                                                    24: Community with support (ACT)
                                                    13: Independent housing with MH
 GEI/PSRB                      26                   10: SRTF
                                                    13: RTF/RTH
                                                    1: I/DD Placement
                                                    1: DOC
                                                    1: Independent housing with MH
 Civil                          4                   3: SRTF
                                                    1: pending updates on placement (TBD)

Table 4. Aid and Assist and GEI orders

 Number of Orders Received           Aid & Assist                          GEI
 December 2021                       76                                    8 (5 standard/3 revocations)
 January 1-28, 2022                  68                                    6 (3 standard/ 3 revocations)

Figure 1. Aid & Assist Admissions/Orders Trends




                                                      7

                                    COOPER DECLARATION EX. A
        Case 3:21-cv-01637-MO            Document 50-1          Filed 08/26/22       Page 8 of 20
                                                         Oregon Neutral Expert Report Regarding Mink/Bowman
                                                                                                      1/30/22



State Behavioral Health Services Background

OSH: I was provided an overview of OSH structure and function (See Table 2 for basic capacity data).
The two campuses have units that are divided largely into two distinct levels of care: hospital level of
care (HLOC) and secure residential treatment facility (SRTF). The SRTF level does not require the same
level of nursing or line staff.

Staffing challenges have been a major issue for OSH. Staffing allocations require approval from a nurse
staffing committee that determines appropriate staffing levels per bargaining unit contracts. In addition
to their assessments, a multidisciplinary workgroup with various union representatives identified
needed staffing levels. To hire into positions, there must be both financial resources and staffing level
authority for additional positions within OSH. Thus, at this time, the currently required staffing levels
exceed budget allocations and staffing level authorization. A staffing report was presented to Ways and
Means but OSH leadership, but has not yet been approved.

The waitlist is managed regularly with staff assigned to admissions process especially. A protocol has
been in place for some time to allow for sheriffs to request expedited admission. In Quarter 4 of 2021
(Oct, Nov, Dec), there was one (1) expedited admission for a patient on an OSH admission order as a
GEI, and the admission was expedited due to a suicide attempt in the jail. There was some discussion
with DRO regarding updating the expedited admissions protocol but the parties agreed that any efforts
to examine this required further conversation. Two (2) patients went ahead in the waitlist during the
fourth quarter of 2021. Both were admitted as GEI revocations per the PSRB.

The hospital leadership noted that there is a growing number of patients on the 9b list identified as no
longer needing hospital level of care (see Table 3). There have been several initiatives that have proven
some success in facilitating discharge of patients, including the recent MOOVRS group, which focuses on
individuals in the A&A, GEI and 701 processes, as well as prior efforts with the Oregon Performance Plan
with civil patients (that included metrics for length of stay and ready to place timelines), and the Person-
Directed Transition Team supports.

Clinical staff explained their perspectives on delays in medicating for individuals who refuse medication
related to their underlying mental health condition who may not have capacity to make treatment
decisions. The legal processes can create delays and ultimate non-restorability determinations may be
the result regardless due to the level of severity of the illnesses people exhibit.

According to OSH leadership, there are often several hearings per week addressing individual court
contempt findings for failure to timely admit individuals. For each of these contempt hearings, there is a
resource of testimony required from clinical and administrative staff who are then unable to perform
the oversight and treatment functions that would expedite other admissions.

According to OSH staff with whom I spoke, it is not uncommon to be dealing with transport delays by
some sheriffs for admissions. Although there may be legitimate issues with transport, this can extend
waiting periods in jail and create additional administrative burden, not to mention distress and
confusion for the persons committed to OSH who may be expecting to leave jail.




                                                     8

                                  COOPER DECLARATION EX. A
        Case 3:21-cv-01637-MO             Document 50-1          Filed 08/26/22       Page 9 of 20
                                                          Oregon Neutral Expert Report Regarding Mink/Bowman
                                                                                                       1/30/22


Despite its challenges, OSH offers many very promising services. The professional staff shared with me
their backgrounds and passion for the work that they do, and even in these difficult times, their
commitment is clear. They also noted that OSH continues to operate several accredited training
programs for psychologists and psychiatrists and others that have been great sources for recruitment
and retention of new professional staff.

Meetings regarding Forensic Evaluation Services: Initial competency evaluations were discussed across
meetings. The increased volume of A&A orders had been striking (See Figure 1 above). The demand for
evaluations and re-evaluations made it difficult to achieve timely evaluations. There was a common
theme among persons I spoke with that seemed to suggest there were inefficiencies in evaluation
processes as it relates to compliance, yet there were several solutions offered including centralization
and decentralization of the evaluation services. It appeared that certification had not shifted the
efficiencies and there can be limited qualified evaluators in particular regions. Besides initial evaluations,
re-evaluations of A&A for those committed to OSH are increasingly impacted, and there are delays in
A&A evaluations in light of the additional demands on FES. Forensic evaluators at OSH often are
spending time gathering information for cases that are dismissed. In addition, I was told that time is
spent locating defendants who no-show, yet continue to be awaiting an evaluation service.

Community Behavioral Health and OHA: In my preliminary meeting with several OHA staff, I was given a
primer on Oregon services pertaining to the A&A, GEI and civil populations vis a vis admission to OSH. In
order to best understand how to form recommendations regarding admissions, it also is important to
understand discharges and potential strategies to divert from arrest and sustain community stability to
avoid rehospitalization. Data indicated that those in the A&A process were most likely to return to OSH
compared to other populations. Thus much of this information relates to both aspects of the system.

Community restoration services have recently been funded by OHA to augment funding through
Medicaid of “treatment as usual” services in the community. OHA developed contracts to assist with
community restoration services, and counties have chosen different uses for those dollars.
Of note, the current statute for community restoration has no requirement of maximum time spent in
restoration or timing for evaluations. There are also community funds for jail diversion as well as some
localities that have CCBHCs, which promote collaboration between behavioral health and other
community members including law enforcement and jails to reduce likelihood of arrest. According to a
presentation to the legislature, there have been some CCBHCs that were closed but some that were able
to open, and OHA is interested in sustaining these programs. IMPACTS grants have been made available
to several counties as another innovation for the state, managed by CJC.

Staff indicated that the Psychiatric Security Review Board (PSRB) manages approximately 650 GEI cases
involving approximately 640 unique individuals, and that 240 of those are at OSH, and the other 400 are
in the community. The PSRB reviews risk mitigation plans for admissions and for discharges from OSH.
Several years ago there was the initiation of the State Hospital Review Panel (SHRP), which was invoked
to review discharges in lieu of the PSRB for individuals found GEI on less severe offenses such as
misdemeanor and non-person crimes. The SHRP was dissolved by statute when the low-level
misdemeanors were ultimately discharged from OSH. There is some effort to track whether this
improvement in timely discharges has reversed itself since the SHRP was dissolved.

OHA has identified Northwest Regional Reentry Center (NWRRC) as a potential stepdown site for some
individuals committed to OSH when appropriate clinically. However, there has been mixed engagement

                                                      9

                                   COOPER DECLARATION EX. A
       Case 3:21-cv-01637-MO            Document 50-1           Filed 08/26/22      Page 10 of 20
                                                         Oregon Neutral Expert Report Regarding Mink/Bowman
                                                                                                      1/30/22


regarding the use of the NWRRC facilities across counties. Also, there have been some concerns raised
as this facility is not designed as a psychiatric treatment facility, and as such it is important that
appropriate level of care determinations and monitoring is conducted for these placements.

OHA described numerous innovations to help expand community capacity, and the staff with whom I
spoke were knowledgeable and dedicated to these efforts.

Meetings with Patients at OSH

I met with six (6) patients all together. Three (3) were in the A&A process and three (3) were in the GEI
system, all of whom agreed to speak to me. I focused my meetings on their current status and their
experiences in the community and gathered no personal identifying information in order to preserve
confidentiality. I explained my role to the individuals and told them that my speaking to them was solely
to inform my thinking about systems issues and decreasing jail wait-times as a whole and that nothing
specific about them would be identified in the report.

Patient 1. This man appeared to be approximately in his 20s. He was in the GEI system having been at
OSH for about five (5) years. He noted that he would be returning to live with his parents, and would
need rides, and a place to go for his medications. He stated that his admission was a result of his step
down from a group home where his medication adherence was monitored, and his having stopped
medications at his next placement. He was not sure of what wrap-around supports he received at the
second placement.

Patient 2. This man also was in the GEI system, and was estimated to be approximately in his 30s. He
had been at OSH since approximately 2018. He recalled waiting in jail prior to admission. He felt that the
community system had been pretty good, but that his doctor told him he could go off his medication. He
had been homeless prior to admission. He was not sure where he would be living after discharge. He
stated that there are many steps involved in the PSRB process. He felt he had family supports and was
hoping to become a peer support specialist.

Patient 3. This woman appeared to be approximately in her 20s. She had been in the Aid & Assist
process for 50 days. She described waiting in jail for about one month, and that one day she was told
she would be going to OSH. She stated in the jail she was not given her medication. She said she felt
“pushed aside.” She was very complimentary of OSH. She liked the groups and the activities. She was
excited to be determined able to proceed but also aware she might be facing homelessness.

Patient 4. This man was approximately in his 30s and in the A&A process. He described having been at
OSH for about two (2) months and having waited in jail about two (2) months prior to his admission. He
stated his parents provided many of his supports but he was looking for ways to not rely on them and
would need assistance with that. He described having manic and psychotic symptoms that needed
injectable medication for longterm stability. He stated he enjoyed doing drugs and wants to continue
that though was worried his mental health might worsen. He noted he had stopped his medication prior
to arrest. He also stated there needed to homeless supports. He stated he was unable to afford bail
even though his charges were fairly minor.

Patient 5. This man indicated he had been at OSH for three (3) months in the A&A process. He had
waited in jail for about a month. He had not been to OSH before, but had been in community mental

                                                    10

                                  COOPER DECLARATION EX. A
       Case 3:21-cv-01637-MO             Document 50-1           Filed 08/26/22      Page 11 of 20
                                                          Oregon Neutral Expert Report Regarding Mink/Bowman
                                                                                                       1/30/22


health services. He noted the community services were “slim pickings” in his small county, they were
short-staffed and therefore services were difficult to access. Although he stated the system considered
him homeless, he stated he preferred “rough living” except for how people treat him like “less of a
human” as a result. He felt that he would likely therefore be recommended for a group home. And
though he preferred a different lifestyle, he also recognized he had a daughter to think about and
wanted to get SSDI. He stated that confidence boosters help, and that his family could help. He felt peer
support or community workers would not help him. He stated that he felt as a grown man that he is
treated like a 13-year old in the system. He thought the psychiatric and legal system needed an
overhaul.

Patient 6. This man appeared to be approximately in his 60s. He was well-read and brought in an article
announcing my appointment. He was in the GEI system, stating he had been in and out of the hospital
many times. He stated that one of his revocations involved use of oxycodone though it had been
officially medically prescribed after an accident. He noted homelessness and lack of access to crisis
services as some of the biggest barriers for him. He stated he was familiar with the CAHOOTS model (a
non-police crisis response model), and felt that law enforcement scares people who are having a mental
health issue. He also stated housing is difficult to access due to stigma. He lived in his car for six months
while working. He stated he felt guilty taking up a bed at OSH when others needed it. He was somewhat
worried about how he would manage when he got to end of jurisdiction as he would continue to need
supports.

Patient 6 had an advocate with him who anonymously made observations that the PSRB makes
conservative decisions thinking of “doing time” as a “treatment”, typically recommending PSRB
supervision for the maximum allotted times as a routine. He stated the hospital is just in the middle and
not able to help control their front or back door.

OHA Progress Reported in the January 3, 2022, Report to Neutral Expert

This progress report highlighted several areas of recent action by the state. First, OSH opened the first of
two remaining Junction City units on 11/15/21, with one more slated to be opened 1/18/22 (of note this
was delayed, however until later in January due to COVID-19 and revising admissions strategy per the
below recommendations). This created capacity, and lead to the movement of 24 GEI patients from the
main campus to the Junction City Campus. Additionally, 24 A&A patients were able to be moved to a
SRTF level of care on the OSH campus, allowing for 24 beds to be open at the hospital level of care.
Additionally, OSH opened 10 more admissions beds related to some COVID-19 unit re-adjustments.

Additionally, the state expanded criteria, now including patients whose most serious charge is a non-
person C felony, on the “Ready-to-Place list” when they no longer meet HLOC.

OSH is meeting weekly with the Northwest Regional Reentry Center (NWRCC) and is attempting to work
with the home counties for those individuals on the “Ready-to-Place” list. This has met with only limited
success, related at least in part to county resistance to using the NWRRC, according to OSH.

The Oregon Department of Justice (DOJ) has been working with state courts to help support the
processes outlined in Senate Bill 295 to increase the use of community-based restoration placements for
the A&A population committed to OSH.


                                                     11

                                   COOPER DECLARATION EX. A
        Case 3:21-cv-01637-MO           Document 50-1           Filed 08/26/22      Page 12 of 20
                                                         Oregon Neutral Expert Report Regarding Mink/Bowman
                                                                                                      1/30/22


Regarding GEI patients, OHA has worked with the PSRB to facilitate discharge of GEI patients and reduce
their length of stay once at OSH. The 1/3/22 progress report indicates that OHS/OSH and PSRB identify
those who could be referred for evaluation for community-based services. DOJ has participated in GEI
cases where the court has not ordered community evaluations.

Information from OJD

State Court Administrator Nancy Cozine and her colleagues at OJD, along with several judges with whom
I met, provided a wealth of information regarding their views of some of the barriers to compliance with
regard to the A&A and GEI populations. Because of their deep commitment to convening and
strengthening the overall system for individuals in the behavioral health and justice systems, in January
2022, OJD hosted a two-day Oregon Behavioral Health Summit (with several exercises for stakeholders
prior to the summit) to help gather feedback to identify a bill of rights for individuals in the behavioral
health and justice system and identify gaps that could be addressed to improve outcomes.

In my meetings, I was provided preliminary recommendations from the Summit. In their preliminary
findings report to me, they provided historical context of a phased plan with the first phase from a
GAINS Community of Practice on Competence to Stand Trial/Competence Restoration, in which a
workgroup identified the following objectives embedded in an idea for regional behavioral health
resource centers in its August 2020 strategic plan:

    •   Divert individuals with behavioral health issues from the criminal justice system to services and
        supports that reduce risk of reentry to the criminal justice system and emergency rooms
    •   Expand availability of timely evaluations and community-based restoration services
    •   Ensure geographic, racial, ethnic, and language equity of aid and assist services statewide
    •   Make effective use of existing state and federal funds to deliver on systemwide goals and
        address behavioral health needs (e.g., housing, treatment, transportation, etc.)

OJD noted that since there were significant appropriations to OHA to enhance behavioral health crisis
stabilization services and other features, the GAINS workgroup paused its meetings to observe the
implementation of new OHA initiatives.

Based on the Summit’s findings, gleaned from all the attendees, preliminary objectives for
improvements were described in the each of the following goal areas: Evaluations, Treatment and
Services, Transition, Equity, Access, Coordination, and Data. Their recommendations continue to be
distilled, and their will be a formal report from the Summit issued.

Taken together, it is laudable that key personnel and judges working within OJD have been very invested
in Aid & Assist issues for some time. An impressive database has been created for the court officials to
be able to track both systems and granular data related to particular cases and trends. There have also
been several innovations, such as Judge Nan Waller’s ‘rapid Aid & Assist’ evaluation effort and her
consolidated A&A docket. OJD personnel indicated that there had been a robust pretrial program that
was eliminated due to funding but that the courts were able to secure 40 pretrial coordinators now
hired at local courts to help input data and track A&A cases.




                                                    12

                                  COOPER DECLARATION EX. A
       Case 3:21-cv-01637-MO            Document 50-1           Filed 08/26/22      Page 13 of 20
                                                         Oregon Neutral Expert Report Regarding Mink/Bowman
                                                                                                      1/30/22


There are Behavioral Health Advisory Committees (BHAC) within OJD established at state and local
levels. The judges noted that there was also a similar meeting set by the legislature. With COVID-19,
some of the meeting duplication dissipated, but OJD continues to have regular meetings with a
behavioral health judicial consortium. They noted also that there had been a Behavioral Health Justice
Counsel that included DRO, members of OJD and the behavioral health system.

There was much discussion regarding the disconnect between criminogenic risks and needs that help
determine security needed for public safety, and the clinical level of care determinations that involve
more secure placements. The OJD representatives commented on the frequency of homelessness and
substance use disorders in the A&A populations, and a lack of ability to divert through civil processes
while reducing recidivism.

In reviewing the OJD data dashboard, it was noted that of the A&A cases, 59% were ultimately found
guilty (often via a plea, and some few were found GEI), and 33% were dismissed (some of whom were
determined Never Able to proceed). Approximately 1% were dismissed pre-disposition. It was noted in
discussion that primary factors in dismissals involved: having a reasonable community plan, factoring in
the duration of stay in a carceral setting, and consideration of whether probation might be an effective
option.

OJD noted some barriers to data sharing including OHA concerns about HIPAA issues. They noted for
example that they do not have awareness of which of the individuals on their A&A caseloads are in OSH
or other community placements.

The OJD comments included that there can be confusion between overlapping roles of CMHPs, CCOs,
and CCBHCs. They noted in discussion with me that there are also frequent recommendations for level
5 and 6 placements from clinical teams or evaluators, and that judges would not likely release to a lower
level of care if that is the clinical recommendation. They described a desire to be more aware of bed
availability in community settings to also know where the state might need more level 5 or 6
placements.

Information from CJC

I met with key leaders at CJC who were overseeing the IMPACTS grants. These grants were established
to decrease recidivism and state hospital utilization and expand jail diversion. They indicated that in July
2020 awards were made to 11 grantees across the state (five (5) tribes and six (6) counties) with $10M
appropriated by the legislature. The grants run on a biennium cycle from 2020-2022 and there is the
possibility of extension with an additional $10M appropriated at the end of the 2021 legislative session.
Due to COVID-19 there have been delays in getting these initiatives off the ground. The total allocations
have the potential to run through 2024. Data collected has been difficult to interpret due to the impact
of COVID-19 on programs, but data is beginning to come in and will be analyzed as it does to help
establish the program successes and challenges. Preliminary reports on these grants were presented to
the legislature. For additional sites to be funded through this mechanism, there would need to be an
additional appropriation separate from the existing appropriations.




                                                    13

                                  COOPER DECLARATION EX. A
       Case 3:21-cv-01637-MO            Document 50-1           Filed 08/26/22      Page 14 of 20
                                                         Oregon Neutral Expert Report Regarding Mink/Bowman
                                                                                                      1/30/22


Summary of Contextual Factors Considered in Recommendations

Hospital Context

OSH is a state-run facility with an active capacity of 706 beds (though it is licensed for 743, there is an
operational need to manage beds at the active capacity) (See Table 1). There has been recent expansion
on the Junction City Campus, and Table 1 reflects accurate data projected for the week of 1/31/22.
Without getting into too many details about the hospital specifics, it is important to highlight four main
contextual factors facing OSH that have emerged as themes from my meetings relevant to timely
admissions of A&A and GEI populations. I will outline them here.

1) OSH, like institutions throughout the world, has been facing clinical dilemmas related to COVID-19.
   The hospital administration has explained to me their protocols that follow specific guidelines aimed
   at reducing the spread of the virus, and, when necessary, managing those who do get COVID-19
   safely. To date the hospital has done a very good job with this. The leadership reported to me that
   no patient at OSH has had serious medical sequelae and there have been no deaths associated with
   COVID-19 among patients. That said, to do so they have had to make some very difficult decisions,
   including a decision to pause admissions periodically. When admissions are paused, the waitlist
   numbers increase, making these administrative and clinical decisions so complex. With the evolving
   COVID-19 situation, this balance will undoubtedly continue to need to be deliberated in the best
   interests of individuals waiting in jails for admission and those at the hospital.

    In 2022 Dates of Paused Admissions to OSH due to COVID-19 included:
     1) January 4 through January 11
     2) January 17 through January 21

2) Staffing shortages have reached at times critical levels. The hospital has called upon the National
   Guard to assist, and per their discussion with me that has helped alleviate some of the strain with
   the National Guard members assigned to duties within their skillset. Staffing shortages of the
   licensed professional staff and the non-licensed staff remain, and as such the hospital has conducted
   a staffing gap analysis and presented staffing requests in the hopes of a fiscal appropriation and an
   administrative allowance to expand FTEs. Timely admissions and safe discharges depend on
   sufficient staff.

3) Increased referrals create more demand. Data trends show ever increasing Aid and Assist
   evaluation orders (see Table 4 and Figure 1). Compared to prior years, even “slow” months with
   fewer referrals show higher numbers of referrals than the busiest months in years past. This pace of
   referrals creates an impossible dilemma for OSH. Forensic evaluators at FES are increasingly called in
   to do first evaluations, and there seem to be increasing numbers of second opinion evaluations, also
   creating delay- and statistically in terms of ultimate findings, it is not clear whether this creates any
   meaningful change in ultimate adjudication for many defendants, besides longer wait times.

4) Delayed discharges reduce the ability to timely admit new patients. Data reports (see Table 3 above)
   indicate that there is a growing “Discharge Pending Placement” waitlist. Reports from staff at OSH
   and OHA indicate that even with the enactment of SB 295, it is not always followed and little
   traction has been made on many cases of individuals who do not require a hospital level of care per
   clinical determinations. This creates other Olmstead issues with regard to not placing indivduals in a

                                                    14

                                  COOPER DECLARATION EX. A
       Case 3:21-cv-01637-MO            Document 50-1           Filed 08/26/22      Page 15 of 20
                                                         Oregon Neutral Expert Report Regarding Mink/Bowman
                                                                                                      1/30/22


    less restrictive level of care when clinically appropriate. Because of the many fingers in the discharge
    process, including the individual themselves whose discharge relates to County actors, local actors,
    State actors, Courts, CCOs, CMHPs, and others, it is a challenging process under the best of
    circumstances. That said, as reported by nearly every group with whom I spoke there are barriers at
    the county and community levels that warrant further scrutiny and attention in order to achieve
    compliance with admissions.

Community Context

The community context also has several complexities that have emerged as themes in my meetings.
Some notable contextual factors that are important to note with regard to compliance include the
following:

1. The impact of COVID-19 has completely shifted community services, and created fraying of an
   already fragile workforce. As noted by Director Allen in his 11/17/21 report to the legislature, there
   has been an unprecedented set of challenges to community systems, who daily struggle to maintain
   staffing levels of direct service providers at the ground level, and stay afloat financially. Although
   resources are being allocated in generous amounts through recent appropriations, pouring money
   into a frayed system will not be an immediate remedy. Moreover, the dollars must be distributed in
   a way that also shows accountability to taxpayers, and this additional scrutiny puts pressure on
   community systems to perform better, at a time when many are simply trying to survive.

2. Justice-involved behavioral health populations present unique challenges. As is seen in countless
   studies, it is clear that there are many factors that make criminal recidivism for individuals with
   serious mental illness--and especially those with co-occurring substance use disorders and those
   with homelessness—difficult to tackle. The population of persons in the Aid & Assist and GEI
   systems quite often have those complexities. Studies show that most often their repeated criminal
   conduct involves lower-level offenses. Nevertheless disrupting the cycle of arrest, incarceration and
   rehospitalization requires more intensive and intentional service components to address their
   complex needs. It was reported by people I spoke with that community providers often feel ill-
   equipped and under-resourced to work across the behavioral health and justice system to help
   break these negative cycles for persons served. Furthermore, justice system partners such as
   probation and parole can play a role in reducing recidivism, which is outside the behavioral health
   system’s purview. Even with additional financial resources, the community systems may need
   additional support and training to best serve these populations.

3. Substance use disorders commonly co-occur with mental illness for those in the Aid & Assist and GEI
   process. Community behavioral health leadership and the judges with whom I spoke raised a
   number of concerns about how to best address substance use disorders among the Aid & Assist
   population in particular, and especially with regard to the nature of methamphetamine use and its
   relationship to psychosis and paranoia. These symptoms can often lead an individual to appear unfit
   to proceed during acute phases of use, and the forensic evaluators described how this can impact
   their forensic evaluations. With the passage of Measure 110, there is movement afoot through OHA
   to help shore up treatment resources for individuals with substance use disorders, though this again
   is not an overnight solution. At the same time, individuals in the Aid & Assist and GEI processes have
   not traditionally been part of the “substance use treatment systems.” There has been and will


                                                    15

                                  COOPER DECLARATION EX. A
       Case 3:21-cv-01637-MO            Document 50-1           Filed 08/26/22      Page 16 of 20
                                                         Oregon Neutral Expert Report Regarding Mink/Bowman
                                                                                                      1/30/22


    continue to be discussion regarding how and whether this factors into compliance with timely
    admissions.

4. The structure of the community services is complex, and there can be silos between counties and
   state responsibilities, leaving the state unable to shift policy and practice without county support.
   Also managed care entities responsible for providing care or overseeing care delivery for
   beneficiaries have their own metrics and incentives. Periods of detention/incarceration can disrupt
   continuity of care for individuals adding to the challenges of providers. Within Oregon the CCOs and
   the CMHPs as well as the counties and municipalities themselves are not as directly impacted by the
   compliance demands and they may have different priorities that can even contradict addressing
   barriers to timely admission and discharge of individuals in these forensic processes. According to
   observations from the parties, the SB 295 legislation was designed to address some of the
   challenges in part, but it is at times misunderstood or appears to not be consistently followed.
   Recommendations below attempt to begin addressing some of these issues.

Unique population needs

For this report and recommendations, specific information was not gathered regarding how many
individuals in the A&A or GEI systems represented populations in need of specialized services within
OHA and across other agencies. These include individuals with individuals with intellectual and
developmental disability services, neurocognitive conditions (i.e., the so-called dementias), traumatic
brain injury or primary substance use disorders. In addition, this report did not focus on veterans or
persons with a history of military service who may have access to additional housing or other supports.
These special populations may be relevant for focus in future recommendations pertaining to
compliance issues.

Recommendations:

As noted above, Judge Mosman ordered the neutral expert to make recommendations to: 1) address
capacity issues at the Oregon State Hospital; and 2) include a suggested admissions protocol that
addresses the admission of patients found unable to aid and assist in their own defense under ORS
161.370 (.370 patients). The following represent my recommendations, which have been agreed to by
the parties:

Regarding addressing capacity issues at OSH, I recommend that OHA take the following actions:

    1. Pursue avenues to expedite and improve discharge processes, including but not limited to:
       a. Advocacy for legislation that would require county fiscal responsibility for individuals in OSH
           who do not require that level of care
       b. Development of methods to enhance SB 295 processes
       c. Refinement of discharge policies/protocols utilizing discharge practices that have been
           shown to be effective

    2. Continue to examine community barriers to preventing unnecessary admissions and diverting
       individuals from admission and from HLOC when those levels of care or placements are not
       clinically appropriate, maximizing the utilization of hospital beds for those in need of a hospital
       to support their recovery

                                                    16

                                  COOPER DECLARATION EX. A
      Case 3:21-cv-01637-MO           Document 50-1           Filed 08/26/22      Page 17 of 20
                                                       Oregon Neutral Expert Report Regarding Mink/Bowman
                                                                                                    1/30/22


   3. Consider evaluation order trends and determine if there are areas that can be addressed to gain
      efficiencies and reduce wait times that may impact compliance
   4. Advocate for the adoption of the OSH staffing request
   5. Regularly continue to meet with Plaintiffs and Neutral Expert
   6. Regularly meet, along with plaintiffs, with leadership from OJD including at least State Court
      Administrator Nancy Cozine and one judge to inform discussion that can lead to progress vis a
      vis compliance (State Court Administrator Cozine and Judge Nan Waller have agreed to this
      recommendation).

Regarding an admissions protocol, I recommend the following:

   1. Coordinate admissions lists between GEI patients and A&A patients to reduce overall jail times
      of both groups.
   2. Utilize the opening of the additional Junction City unit to facilitate admission of patients into
      OSH, including GEI patients to equalize waitlist times to create the ability for a more uniform
      admissions protocol.
   3. Develop data infrastructure improvements to help monitor compliance and tracking through a
      data dashboard to be shared across entities and to further develop admissions strategies and
      hospital capacity by tracking data in a consistent manner. Data elements should include but not
      be limited to:

           a. Admissions Data: Number of individuals currently awaiting admission from jail by legal
              status (GEI/A&A), average time individuals are waiting (including range), average times
              individuals who were admitted waited for admission by month, performance metric
              measuring trends in wait times. These elements should be able to be viewed at a state
              level, and broken down by county. Establishment of additional metrics for these same
              data elements sorted by severity of charges and whether individuals represent unique
              populations (persons with mental illness or intellectual/developmental disabilities, for
              example) may be added to the dashboard if feasible over time. Additional data elements
              should be further discussed by the parties with consultation from the neutral expert.

           b. Discharge/Ready to Place Data: Ready to Place data should include number of
              individuals ready to place, level of care needed, and days identified as no longer needing
              OSH services but still awaiting placement in an alternative setting. This data should be
              able to be tracked over time. This information should be available at a state level and by
              county. Establishment of additional metrics for these same data elements sorted by
              severity of charges and whether individuals represent unique populations (persons with
              mental illness or intellectual/developmental disabilities, for example) may be added to
              the dashboard if feasible over time. Additional data elements should be further
              discussed by the parties with consultation from the neutral expert.

   I have discussed the principles embedded within each of the above recommendations with the
   parties, and they have indicated agreement with them. Also of note, coordinating and executing the
   admissions between GEI and A&A individuals into OSH with the goal of using the Junction City new
   unit already began prior to this report, and the total wait times of GEIs was significantly reduced.
   Due to COVID-19-related pauses in admissions, the waitlist for individuals on A&A increased, but this
   will continue to be tracked now that admissions are no longer on pause.

                                                  17

                                COOPER DECLARATION EX. A
        Case 3:21-cv-01637-MO            Document 50-1          Filed 08/26/22      Page 18 of 20
                                                         Oregon Neutral Expert Report Regarding Mink/Bowman
                                                                                                      1/30/22


     In order to develop action items related to these first short-term recommendations, I also suggested
     that the parties jointly develop steps that could be taken along similar domains, including data,
     policy/protocol, legislative and any other dimension to address capacity issues at OSH and move
     toward compliance. The parties worked diligently to accomplish that request. Their jointly
     constructed short-term action items are in line with my recommendations and I therefore
     recommend that they be pursued to help move toward compliance. I applaud the efforts of the
     parties in developing them.

Short-Term Action Items as Agreed Upon by the Parties (and Supported by the Neutral Expert)

A.       Data Improvements

         1.      Data dashboard. By March 1, 2022, the parties, with input of the neutral expert, will
                 develop a data-dashboard with agreed-upon elements to show progress in reaching
                 compliance and a plan for implementation, including a reporting cadence and
                 distribution list. Anticipated distribution of this data would be by April 1.

                 OHA will review whether additional staff are required to support this effort in a
                 sustained capacity and, if so, bring that request to the legislature. DRO/MPD will
                 actively support that request if made.

B.       Policy/Protocol Actions

         1.      Use of the Junction City units. In accordance with the Neutral Expert preliminary
                 recommendations and with the agreement of the parties, OSH will prioritize admissions
                 of GEI patients to its Salem campus for assessment and placement, so that the GEI and
                 A&A populations to be admitted from jail are waiting about the same length of time. For
                 COVID-19 safety and protocols as well as overall speed of admission, at the time of this
                 report, people are only admitted to the Salem campus, where the admissions
                 monitoring units and staff are centralized. After the admission process is complete to
                 OSH, OSH will assess for appropriate movement to Junction City placements based on all
                 appropriate clinical and patient safety considerations, thereby opening up subsequent
                 additional beds for admission on the admissions unit.

         2.      Discharge processes. By March 1, 2022, OSH Social Work Department in coordination
                 with OHA Office of Behavioral Health will review internal discharge processes for all
                 commitment types with the intent to streamline multiple processes that have shown
                 beneficial outcomes into one process with nuance between legal status clearly defined.
                 The results of this review will be presented in MOOVRS on March 3, 2022, and will be
                 shown to the neutral expert and the parties with the goal of implementation of new
                 protocol by March 14. Progress on this will be summarized in the March 3, 2022,
                 progress report to Dr. Pinals.

         3.      Reduction in hospital admissions for individuals that can appropriately be served in other
                 settings. In its February 3, 2022, progress report to Dr. Pinals, OHA will describe what it

                                                    18

                                   COOPER DECLARATION EX. A
     Case 3:21-cv-01637-MO            Document 50-1           Filed 08/26/22      Page 19 of 20
                                                       Oregon Neutral Expert Report Regarding Mink/Bowman
                                                                                                    1/30/22


             is currently doing to prevent or reduce the growth of hospital admissions of individuals
             who can be clinically served in a less medically intensive level of care (particularly aid
             and assist patients).

     4.      Supports in the community. In its February 3, 2022, progress report to Dr. Pinals, OHA
             will describe the ways in which it has identified and funded additional supports in the
             community for people who are restored to competency, which will generate ongoing
             discussion with the parties regarding impacts on compliance.

C.   Legislative Actions

     1.      County financial risk sharing. OHA has proposed legislation that would allow charging
             counties for patients who no longer require hospital level of care on the OSH 9b list
             beyond a date threshold. DRO will support this legislative effort and/or engage with
             stakeholders in developing an alternative that promotes enhanced county engagement
             and accountability in supporting timely transitions to community.

     2.      OSH staffing. OSH has submitted a request to the legislature for increased position
             authority and funding. DRO will actively support this legislative request.

     3.      Other legislative actions. In its February 3, 2022 report to Dr. Pinals, OHA will further
             describe any additional relevant legislation it has proposed that may impact compliance.
             DRO/MPD will support OHA’s legislative requests as appropriate.

D.   Court Case Specific Actions

     Focus on maximizing adherence to SB 295. Adherence to SB 295 (law providing for discharge of
     .370 patients who no longer require HLOC) is critical to make room for new admissions to OSH
     and to have individuals who no longer need hospital level institutional care placed in a less
     restrictive setting. According to tracking by the State, some state courts and CMHPs are not
     following this law as it is written, which results in .370 patients on the Ready to Place List staying
     at OSH for longer than necessary or allowed by law. To support adherence to SB 295, the
     parties will do the following:

     1.      Education. DOJ/OHA, DRO, and MPD will develop a one-hour CLE on SB 295 for defense
             lawyers. They will coordinate with the Oregon Criminal Defense Lawyers Association for
             a virtual presentation in the near future. The parties will continue to work together and
             consult with OJD to determine whether a similar presentation for OJD and prosecutors
             would also be beneficial.

     2.      Informal support. General counsel for OSH will continue already ongoing efforts to
             support compliance through targeted communications with individual defense lawyers
             and prosecutors. MPD will now also make themselves available to try and intervene
             with defense lawyers to ensure they follow SB 295.

                                                  19

                               COOPER DECLARATION EX. A
       Case 3:21-cv-01637-MO            Document 50-1           Filed 08/26/22      Page 20 of 20
                                                         Oregon Neutral Expert Report Regarding Mink/Bowman
                                                                                                      1/30/22



        3.      Advocacy. DOJ will evaluate cases on a state-wide basis for direct legal intervention on
                behalf of OSH where they determine that SB 295 is not being followed by state courts or
                CMHPs. DRO will develop, and revise as needed, an amicus brief that it will file such
                cases where appropriate. DOJ will notify DRO about the OSH intervention and will
                provide information needed for DRO to evaluate whether to submit such an amicus
                brief.

        4.      Tracking: OSH will evaluate the impact on bed space of measures taken under this
                section to reduce discharge wait times, and report to Dr. Pinals and DRO in currently-
                scheduled regular meetings.


Concluding Comments

This matter has involved a good faith effort to develop recommendations that are aimed primarily to
reduce wait times to access OSH services when appropriate for individuals within the Aid and Assist and
GEI context. These recommendations are preliminary, and several additional items were considered and
thought to be more appropriate for longer-term recommendations as they will require further
deliberation and prioritization determinations.

That these initial recommendations were developed collaboratively with the potential to leverage the
strengths and roles of each side of the litigation has been critical. I note that in my meetings with them,
it has appeared that both parties are committed to and rooted in the values of ensuring that individuals
in A&A and GEI processes receive timely and appropriate care and treatment, and eliminating barriers to
achieving those goals.

I appreciate the help of the leadership and staff at OSH, OHA, DRO, CJC, and OJD in offering their
thoughts to support the compilation of this first report. I also am grateful especially to Mr. Cody Gabel
who assisted me in better understanding the Oregon behavioral health and justice system while
coordinating meetings and tracking information I requested to inform these recommendations.



Respectfully Submitted by:




Debra A. Pinals, M.D.
Clinical Professor of Psychiatry
Director, Program in Law, Psychiatry, and Ethics
University of Michigan




                                                    20

                                  COOPER DECLARATION EX. A
